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 1     CENTER FOR DISABILITY ACCESS
       Raymond Ballister Jr., Esq., SBN 111282
 2     Russell Handy, Esq., SBN 195058
       Dennis Price, Esq., SBN 279082
 3     Amanda Seabock, Esq., SBN 289900
       Mail: 8033 Linda Vista Road, Suite 200
 4     San Diego, CA 92111
       (858) 375-7385; (888) 422-5191 fax
 5     amandas@potterhandy.com
 6     Attorneys for Plaintiff
 7
 8
                               UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11     Orlando Garcia,                           Case No.

12               Plaintiff,
                                                 Complaint For Damages And
13       v.                                      Injunctive Relief For Violations
                                                 Of: Americans With Disabilities
14     Valley Hi Trading, Inc., a                Act; Unruh Civil Rights Act
       California Corporation
15
                 Defendants.
16
17
           Plaintiff Orlando Garcia complains Valley Hi Trading, Inc., a California
18
     Corporation, and alleges as follows:
19
20
       PARTIES:
21
       1. Plaintiff is a California resident with physical disabilities. Plaintiff is a
22
     level C-5 quadriplegic. He also suffers from Cerebral Palsy. He has manual
23
     dexterity issues. He uses a wheelchair for mobility.
24
       2. Defendant Valley Hi Trading, Inc. owned the real property located at or
25
     about 437 E Foothill Blvd, Azusa, California, in August 2020.
26
       3. Defendant Valley Hi Trading, Inc. owns the real property located at or
27
     about 437 E Foothill Blvd, Azusa, California, currently.
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 1     4. Defendant Valley Hi Trading, Inc. owned the Coin Laundry located at
 2   or about 437 E Foothill Blvd, Azusa, California, in August 2020.
 3     5. Defendant Valley Hi Trading, Inc. owns the Coin Laundry located at or
 4   about 437 E Foothill Blvd, Azusa, California, currently.
 5     6. Plaintiff does not know the true names of Defendants, their business
 6   capacities, their ownership connection to the property and business, or their
 7   relative responsibilities in causing the access violations herein complained of,
 8   and alleges a joint venture and common enterprise by all such Defendants.
 9   Plaintiff is informed and believes that each of the Defendants herein is
10   responsible in some capacity for the events herein alleged, or is a necessary
11   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
12   the true names, capacities, connections, and responsibilities of the Defendants
13   are ascertained.
14
15     JURISDICTION & VENUE:
16     7. The Court has subject matter jurisdiction over the action pursuant to 28
17   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
18   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
19     8. Pursuant to supplemental jurisdiction, an attendant and related cause
20   of action, arising from the same nucleus of operative facts and arising out of
21   the same transactions, is also brought under California’s Unruh Civil Rights
22   Act, which act expressly incorporates the Americans with Disabilities Act.
23     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
24   founded on the fact that the real property which is the subject of this action is
25   located in this district and that Plaintiff's cause of action arose in this district.
26
27     FACTUAL ALLEGATIONS:
28     10. Plaintiff went to the Coin Laundry in August 2020 with the intention to


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 1   avail himself of its services and to assess the business for compliance with the
 2   disability access laws.
 3     11. The Coin Laundry is a facility open to the public, a place of public
 4   accommodation, and a business establishment.
 5     12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
 6   to provide wheelchair accessible change machines in conformance with the
 7   ADA Standards as it relates to wheelchair users like the plaintiff.
 8     13. The Coin Laundry provides change machines to its customers but fails
 9   to provide any wheelchair accessible change machines.
10     14. One problem that plaintiff encountered is that the operable parts of the
11   dollar bill machine were too high for plaintiff.
12     15. Plaintiff believes that there are other features of the change machines
13   that likely fail to comply with the ADA Standards and seeks to have fully
14   compliant change machines available for wheelchair users.
15     16. On information and belief, the defendants currently fail to provide
16   wheelchair accessible change machines.
17     17. Additionally, on the date of the plaintiff’s visit, the defendants failed to
18   provide wheelchair accessible parking in conformance with the ADA
19   Standards as it relates to wheelchair users like the plaintiff.
20     18. The Coin Laundry provides parking to its customers but fails to provide
21   any wheelchair accessible parking.
22     19. A few problems that plaintiff encountered is that parking stall and
23   access aisle marked and reserved for persons with disabilities had slopes that
24   exceeded 2.1%. Meanwhile, there was no access aisle that accompanied the
25   second ADA parking stall.
26     20. Plaintiff believes that there are other features of the parking that likely
27   fail to comply with the ADA Standards and seeks to have fully compliant
28   parking available for wheelchair users.


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 1     21. On information and belief, the defendants currently fail to provide
 2   wheelchair accessible parking.
 3     22. These barriers relate to and impact the plaintiff’s disability. Plaintiff
 4   personally encountered these barriers.
 5     23. As a wheelchair user, the plaintiff benefits from and is entitled to use
 6   wheelchair accessible facilities. By failing to provide accessible facilities, the
 7   defendants denied the plaintiff full and equal access.
 8     24. The failure to provide accessible facilities created difficulty and
 9   discomfort for the Plaintiff.
10     25. The defendants have failed to maintain in working and useable
11   conditions those features required to provide ready access to persons with
12   disabilities.
13     26. The barriers identified above are easily removed without much
14   difficulty or expense. They are the types of barriers identified by the
15   Department of Justice as presumably readily achievable to remove and, in fact,
16   these barriers are readily achievable to remove. Moreover, there are numerous
17   alternative accommodations that could be made to provide a greater level of
18   access if complete removal were not achievable.
19     27. Plaintiff will return to the Coin Laundry to avail himself of its services
20   and to determine compliance with the disability access laws once it is
21   represented to him that the Coin Laundry and its facilities are accessible.
22   Plaintiff is currently deterred from doing so because of his knowledge of the
23   existing barriers and his uncertainty about the existence of yet other barriers
24   on the site. If the barriers are not removed, the plaintiff will face unlawful and
25   discriminatory barriers again.
26     28. Given the obvious and blatant nature of the barriers and violations
27   alleged herein, the plaintiff alleges, on information and belief, that there are
28   other violations and barriers on the site that relate to his disability. Plaintiff will


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 1   amend the complaint, to provide proper notice regarding the scope of this
 2   lawsuit, once he conducts a site inspection. However, please be on notice that
 3   the plaintiff seeks to have all barriers related to his disability remedied. See
 4   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
 5   encounters one barrier at a site, he can sue to have all barriers that relate to his
 6   disability removed regardless of whether he personally encountered them).
 7
 8   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 9   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
10   Defendants.) (42 U.S.C. section 12101, et seq.)
11     29. Plaintiff re-pleads and incorporates by reference, as if fully set forth
12   again herein, the allegations contained in all prior paragraphs of this
13   complaint.
14     30. Under the ADA, it is an act of discrimination to fail to ensure that the
15   privileges, advantages, accommodations, facilities, goods and services of any
16   place of public accommodation is offered on a full and equal basis by anyone
17   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
18   § 12182(a). Discrimination is defined, inter alia, as follows:
19            a. A failure to make reasonable modifications in policies, practices,
20                or procedures, when such modifications are necessary to afford
21                goods,     services,    facilities,   privileges,   advantages,     or
22                accommodations to individuals with disabilities, unless the
23                accommodation would work a fundamental alteration of those
24                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
25            b. A failure to remove architectural barriers where such removal is
26                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
27                defined by reference to the ADA Standards.
28            c. A failure to make alterations in such a manner that, to the


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 1                maximum extent feasible, the altered portions of the facility are
 2                readily accessible to and usable by individuals with disabilities,
 3                including individuals who use wheelchairs or to ensure that, to the
 4                maximum extent feasible, the path of travel to the altered area and
 5                the bathrooms, telephones, and drinking fountains serving the
 6                altered area, are readily accessible to and usable by individuals
 7                with disabilities. 42 U.S.C. § 12183(a)(2).
 8     31. When a business provides facilities such as change machines, it must
 9   provide accessible change machines.
10     32. Here, accessible change machines have not been provided in
11   conformance with the ADA Standards.
12     33. When a business provides parking for its customers, it must provide
13   accessible parking.
14     34. Here, accessible parking has not been provided in conformance with the
15   ADA Standards.
16     35. The Safe Harbor provisions of the 2010 Standards are not applicable
17   here because the conditions challenged in this lawsuit do not comply with the
18   1991 Standards.
19     36. A public accommodation must maintain in operable working condition
20   those features of its facilities and equipment that are required to be readily
21   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
22     37. Here, the failure to ensure that the accessible facilities were available
23   and ready to be used by the plaintiff is a violation of the law.
24
25   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
26   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
27   Code § 51-53.)
28     38. Plaintiff repleads and incorporates by reference, as if fully set forth


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 1   again herein, the allegations contained in all prior paragraphs of this
 2   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
 3   that persons with disabilities are entitled to full and equal accommodations,
 4   advantages, facilities, privileges, or services in all business establishment of
 5   every kind whatsoever within the jurisdiction of the State of California. Cal.
 6   Civ. Code §51(b).
 7      39. The Unruh Act provides that a violation of the ADA is a violation of the
 8   Unruh Act. Cal. Civ. Code, § 51(f).
 9      40. Defendants’ acts and omissions, as herein alleged, have violated the
10   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
11   rights to full and equal use of the accommodations, advantages, facilities,
12   privileges, or services offered.
13      41. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
14   discomfort or embarrassment for the plaintiff, the defendants are also each
15   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
16   (c).)
17
18             PRAYER:
19             Wherefore, Plaintiff prays that this Court award damages and provide
20   relief as follows:
21           1. For injunctive relief, compelling Defendants to comply with the
22   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
23   plaintiff is not invoking section 55 of the California Civil Code and is not
24   seeking injunctive relief under the Disabled Persons Act at all.
25           2. Damages under the Unruh Civil Rights Act, which provides for actual
26   damages and a statutory minimum of $4,000 for each offense.
27           3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
28   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.


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 1
     Dated: December 16, 2020     CENTER FOR DISABILITY ACCESS
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                                  By:
 4
 5                                _______________________

 6                                      Russell Handy, Esq.
                                        Attorney for plaintiff
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